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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION
                                     -----------

UNITED STATES OF AMERICA,

                         Plaintiff,               No. 1:21-CR-40-03

                 vs.                              Hon. Robert J. Jonker
                                                  Chief U.S. District Judge
DANIEL REYNOLD DEJAGER, a/k/a
“Daniel Reynold,” a/k/a “Daniel Miester,”
a/k/a Danichi,”

                  Defendant.
_____________________________________/

                            AMENDED PROPOSED ORDER
                       OF FORFEITURE FOR A MONEY JUDGMENT

         The government’s Amended Motion for an Order of Forfeiture for a Money

Judgment details the procedural and factual predicate for the entry of the requested

order.        The record fully supports the recitals in the government’s motion.

Accordingly, based on all matters of record, IT IS ORDERED that:

         1.      Defendant Daniel Reynold Dejager shall forfeit to the United States the

sum of $25,000 in United States currency pursuant to 18 U.S.C. §§ 981(a)(1)(c),

982(a)(1), and 28 U.S.C. § 2461(c).

         2.      The United States District Court shall retain jurisdiction in the case for

the purpose of enforcing this Order.

         3.      Pursuant to Fed. R. Crim. P. 32.2(b)(4), this Order of Forfeiture shall

become final as to Defendant Daniel Reynold Dejager at the time of sentencing, and


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shall be made part of the sentence and included in the judgment.

      4.    This Court to retain jurisdiction over this matter for the purpose of

amending the Order of Forfeiture to include any subsequently located substitute

assets.



      SO ORDERED.



         February 23, 2022
Dated: _____________________                  /s/ Robert J. Jonker
                                             ___________________________________
                                             ROBERT J. JONKER
                                             Chief United States District Judge




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